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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
ELECTRONIC PRIVACY                         )
INFORMATION CENTER                         )
                                           )
      Plaintiff,                           )
      v.                                   ) No. 1:12-cv-00333-GK
                                           )
DEPARTMENT OF HOMELAND SECURITY            )
                                           )
      Defendant.                           )
                                           )

                             AFFIDAVIT OF GINGER MCCALL

       1.      My name is Ginger McCall, and all statements made herein are true, and based on

my personal knowledge.

       2.      I am an adult resident of Maryland.

       3.      I am a 2009 graduate of Cornell Law School.

       4.      I am a member in good standing of the Bar of the District of Columbia and the

Bar of Pennsylvania, and was licensed to practice law during the entirety of the time spent on

behalf of the Electronic Privacy Information Center (EPIC) in the above-captioned matter.

       5.      I was employed by EPIC between September 2008 and April 2015.

       6.      I performed 34.6 hours of work on behalf of EPIC in the above-captioned matter.

       7.      This calculation is supported by the contemporaneously-generated time records

that I recorded throughout the litigation of the above-captioned matter.
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       8.     I declare under penalty of perjury that the foregoing is true and correct. Executed

on February 5, 2016.




                                                    Ginger McCall




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